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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    MARISSA GLOVER,                                   Case No.: 3:16-cv-01790-BEN-BLM
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT
13    v.                                                MOTION TO DISMISS
                                                        DEFENDANT TRANS UNION, LLC
14    TD BANK, N.A., et al.,
15                                  Defendants.
16
17          The Court has considered the Joint Motion for Dismissal with Prejudice (the “Joint
18    Motion”) filed by Plaintiff Marissa Glover and Defendant Trans Union, LLC (“Trans
19    Union”). (Docket No 24.)
20          For good cause shown, the Joint Motion is GRANTED. Defendant Trans Union is
21    DISMISSED WITH PREJUDICE from the action. Each party shall bear its own fees
22    and costs.
23          IT IS SO ORDERED.
24
25    DATED: February
                                                    ho:          R T. BENITEZ
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                                                    United States District Judge
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                                                                             3:16-cv-01790-BEN-BLM
